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                                                                                              CLERK U.S. BANKRUPTCY COURT
                                                                                              Central District of California
                  6                                                                           BY handy      DEPUTY CLERK


                  7
                  8                                      UNITED STATES BANKRUPTCY COURT
                  9                                       CENTRAL DISTRICT OF CALIFORNIA
               10                                                NORTHERN DIVISION
               11 In re:                                                         Case No. 9:19-bk-11573-MB
               12                                                                Chapter 11
                          HVI Cat Canyon, Inc.
               13                                                                Adversary No. 9:20-ap-01011-MB
                                            Debtor.
               14                                                                ORDER GRANTING STIPULATION TO
                                                                                 EXTEND TIME FOR DEFENDANT
               15 Michael A. McConnell, Chapter 11 Trustee,                      CORIAN CROSS HOLDINGS, LP TO
                                                                                 RESPOND TO THE COMPLAINT
               16                           Plaintiff,
                                                                                 Service Date: January 29, 2020
               17                     vs.                                        Old Response Date: February 21, 2020
                                                                                 New Response Date: March 6, 2020
               18 Donna Jean AAnerud, et al. ,
               19                           Defendants.
               20
               21
                                      The Court, having reviewed and considered the Stipulation To Extend Time for
               22
                          Defendant Corian Cross Holdings, LP to Respond to Complaint between Plaintiff Michael A.
               23
                          McConnell, Chapter 11 trustee ("Plaintiff") and Defendant Corian Cross Holdings, LP to
               24
                          extend the time for Defendant Corian Cross Holdings, LP to file and serve a response to the
               25
                          Complaint in the referenced adversary action [Adversary. Proc. Docket No. 22],
               26
                                      IT IS HEREBY ORDERED that:
               27
                                      1.    The stipulation is approved; and
               28

Palmieri, Tyler, Wiener                                                        -1-
Wilhelm & Waldron LLP        ORDER GRANTING STIPULATION TO EXTEND TIME FOR DEFENDANT CORIAN CROSS HOLDINGS, LP
    Attorneys at Law
                                                       TO RESPOND TO THE COMPLAINT
                          2904328.1
                      Case 9:20-ap-01011-MB              Doc 33 Filed 02/24/20 Entered 02/24/20 16:17:42       Desc
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                  1                   2.   Defendant Corian Cross Holdings, LP only, and no other defendant, shall have
                  2 until March 6, 2020 to answer or otherwise respond to Plaintiff's Complaint;
                  3                   3.   Such extension of time to answer or otherwise respond to the Complaint is
                  4 without prejudice to Defendant Corian Cross Holdings, LP's right to seek further extension.
                  5                                                      ####
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                               Date: February 24, 2020
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Palmieri, Tyler, Wiener                                                   -2-
Wilhelm & Waldron LLP        ORDER GRANTING STIPULATION TO EXTEND TIME FOR DEFENDANT CORIAN CROSS HOLDINGS, LP
    Attorneys at Law
                                                       TO RESPOND TO THE COMPLAINT
                          2904328.1
